
PER CURIAM.
This petition for writ of mandamus seeks to compel a ruling on a motion for postconviction relief. The circuit court has recently issued an order to show cause why the pending motion should not be granted. Accordingly, we deny the petition for writ of mandamus. Munn v. Fla. Parole Comm’n, 807 So.2d 733 (Fla. 1st DCA 2002) (holding that where the trial court has issued a recent order to show cause, mandamus relief was not warranted). However, we encourage the circuit court to continue its efforts to expeditiously dispose of the motion pending below. See Wilson v. State, 775 So.2d 1003 (Fla. 1st DCA 2001).
ROBERTS, C.J., BENTON and KELSEY, JJ., concur.
